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                                  1   Thiago M. Coelho, SBN 324715
                                      thiago@wilshirelawfirm.com
                                  2   Binyamin I. Manoucheri, SBN 336468
                                  3   binyamin@wilshirelawfirm.com
                                      WILSHIRE LAW FIRM
                                  4   3055 Wilshire Blvd., 12th Floor
                                  5   Los Angeles, California 90010
                                      Telephone: (213) 381-9988
                                  6   Facsimile: (213) 381-9989
                                  7
                                      Attorneys for Plaintiff and Proposed Class
                                  8
                                  9                        UNITED STATES DISTRICT COURT
                                 10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                      CRYSTAL REDICK, individually              CASE NO.:
                                 12   and on behalf all others similarly
                                      situated,
                                 13
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                                                                                      CLASS ACTION COMPLAINT
                                                          Plaintiff,               1. VIOLATIONS OF THE
                                 14
                                            v.                                        AMERICANS WITH
                                 15                                                   DISABILITIES ACT OF 1990, 42
                                 16   TUMI, INC., a New Jersey                        U.S.C. § 12181
                                      corporation; and DOES 1 to 10,               2. VIOLATIONS OF THE UNRUH
                                 17   inclusive,                                      CIVIL RIGHTS ACT
                                 18                                                   DEMAND FOR JURY TRIAL
                                                         Defendant.
                                 19
                                 20
                                 21         Plaintiff Crystal Redick (“Plaintiff”), individually and on behalf of all others
                                 22   similarly situated, brings this action based upon her personal knowledge as to
                                 23   herself and her own acts, and as to all other matters upon information and belief,
                                 24   based upon, inter alia, the investigations of her attorneys.
                                 25                              NATURE OF THE ACTION
                                 26         1.     Plaintiff is a visually impaired and legally blind person who requires
                                 27   screen reading software to read website content using her computer. Plaintiff uses
                                 28   the terms “blind” or “visually impaired” to refer to all people with visual
                                                                           1
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                                  1   impairments who meet the legal definition of blindness in that they have a visual
                                  2   acuity with correction of less than or equal to 20 x 200. Some blind people who
                                  3   meet this definition have limited vision. Others have no vision.
                                  4         2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  5   (hereafter “Class Members”), brings this Class Action to secure redress against
                                  6   Tumi, Inc. (“Defendant”), and DOES 1-10, for its failure to design, construct,
                                  7   maintain, and operate its website to be fully and equally accessible to and
                                  8   independently usable by Plaintiff and other blind or visually impaired people.
                                  9   Defendant’s denial of full and equal access to its website, and therefore denial of its
                                 10   products and services offered thereby and in conjunction with its physical locations,
                                 11   is a violation of Plaintiff’s rights under the Americans with Disabilities Act
                                 12   (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
                                 13         3.     Because Defendant’s website, https://www.tumi.com/ the (“Website”
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                                 14   or “Defendant’s website”), is not fully or equally accessible to blind and visually
                                 15   impaired consumers in violation of the ADA, Plaintiff seeks a permanent injunction
                                 16   to cause a change in Defendant’s corporate policies, practices, and procedures so
                                 17   that Defendant’s website will become and remain accessible to blind and visually
                                 18   impaired consumers.
                                 19                                     THE PARTIES
                                 20         4.     Plaintiff, at all times relevant and as alleged herein, is a resident of
                                 21   California, County of Los Angeles. Plaintiff is a legally blind, visually impaired,
                                 22   handicapped person, and a member of a protected class of individuals under the
                                 23   ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the
                                 24   ADA set forth at 28 CFR §§ 36.101 et seq.
                                 25         5.     Defendant is a New Jersey corporation with its headquarters in Edison,
                                 26   New Jersey.     Defendant’s servers for the website are in the United States.
                                 27   Defendant conducts a large amount of its business in California. Defendant’s stores
                                 28   constitute places of public accommodation. Defendant’s stores provide to the
                                                                           2
                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   public important goods and services. Defendant’s website provides consumers
                                  2   access to “TUMI’s innovative introduction of soft, ultra-functional, black-on-black
                                  3   ballistic nylon travel bags” which are available for purchase online and at the
                                  4   physical locations. Consumers can additionally access information regarding store
                                  5   locations, best sellers, special collections, new arrivals, personalization shop,
                                  6   featured items, philanthropy opportunities, product information and warranty, sale
                                  7   items, gift ideas, gift cards, career opportunities, shipping and returns, payment
                                  8   methods, service and repairs, replacement parts, email subscriptions, corporate gifts
                                  9   and incentives, order tracking, airline carry-on guide, setting your TUMI lock, and
                                 10   Defendant’s social media pages.
                                 11         6.     Plaintiff is unaware of the true names, identities, and capacities of the
                                 12   Defendants sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 13   complaint to allege the true names and capacities of DOES 1 to 10 if and when
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                                 14   ascertained. Plaintiff is informed and believes, and thereupon alleges, that each of
                                 15   the Defendants sued herein as a DOE is legally responsible in some manner for the
                                 16   events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 17   proximately caused injuries and damages to Plaintiff as set forth below.
                                 18         7.     Defendant’s stores are public accommodations within the definition of
                                 19   Title III of the ADA, 42 U.S.C. § 12181(7).
                                 20         8.     The website https://www.tumi.com/, is a service, privilege, or
                                 21   advantage of Defendant’s goods, services, and location.
                                 22                            JURISDICTION AND VENUE
                                 23         9.     This Court has subject matter jurisdiction over the state law claims
                                 24   alleged in Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §
                                 25   1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5 million,
                                 26   exclusive of interest and costs; and (b) some of the class members are citizens of a
                                 27   state (California) which is different from the state of citizenship of Defendant (New
                                 28   Jersey).
                                                                    3
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                                  1            10.   Defendant is subject to personal jurisdiction in this District. Defendant
                                  2   has been and is committing the acts or omissions alleged herein in the Central
                                  3   District of California that caused injury, and violated rights prescribed by the ADA
                                  4   and UCRA, to Plaintiff and to other blind and other visually impaired consumers.
                                  5   A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  6   in the Central District of California. Specifically, on several separate occasions,
                                  7   Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  8   services of Defendant’s website in Los Angeles County. The access barriers
                                  9   Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                 10   full and equal access multiple times in the past, and now deter Plaintiff on a regular
                                 11   basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                 12   has encountered on Defendant’s website have impeded Plaintiff’s full and equal
                                 13   enjoyment of the goods and services offered at Defendant’s brick-and-mortar
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                                 14   stores.
                                 15            11.   This Court also has subject matter jurisdiction over this action pursuant
                                 16   to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title
                                 17   III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 18            12.   This Court has personal jurisdiction over Defendant because it
                                 19   conducts and continues to conduct a substantial and significant amount of business
                                 20   in the State of California, Los Angeles County, and because Defendant’s offending
                                 21   website is available across California.
                                 22            13.   Venue is proper in the Central District of California pursuant to 28
                                 23   U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 24   continues to conduct a substantial and significant amount of business in this District,
                                 25   Defendant is subject to personal jurisdiction in this District, and a substantial
                                 26   portion of the conduct complained of herein occurred in this District.
                                 27   ///
                                 28   ///
                                                                      4
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                                  1     THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                  2         14.    The Internet has become a significant source of information, a portal,
                                  3   and a tool for conducting business, doing everyday activities such as shopping,
                                  4   learning, banking, researching, as well as many other activities for sighted, blind
                                  5   and visually impaired persons alike.
                                  6         15.    In today's tech-savvy world, blind and visually impaired people have
                                  7   the ability to access websites using keyboards in conjunction with screen access
                                  8   software that vocalizes the visual information found on a computer screen. This
                                  9   technology is known as screen reading software. Screen reading software is
                                 10   currently the only method a blind or visually impaired person may use to
                                 11   independently access the internet. Unless websites are designed to be read by
                                 12   screen reading software, blind and visually impaired persons are unable to fully
                                 13   access websites, and the information, products, and services contained thereon.
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                                 14         16.    Blind and visually impaired users of Windows operating system-
                                 15   enabled computers and devices have several screen reading software programs
                                 16   available to them. Some of these programs are available for purchase and other
                                 17   programs are available without the user having to purchase the program separately.
                                 18   Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 19   popular, separately purchased and downloaded screen reading software program
                                 20   available for a Windows computer.
                                 21         17.    For screen reading software to function, the information on a website
                                 22   must be capable of being rendered into text. If the website content is not capable
                                 23   of being rendered into text, the blind or visually impaired user is unable to access
                                 24   the same content available to sighted users.
                                 25         18.    The international website standards organization, the World Wide
                                 26   Web Consortium, known throughout the world as W3C, has published Success
                                 27   Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 28   hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                                                         5
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                                  1   accessible to blind and visually impaired people. These guidelines are adopted,
                                  2   implemented, and followed by most large business entities who want to ensure their
                                  3   websites are accessible to users of screen reading software programs. Though
                                  4   WCAG 2.1 has not been formally adopted as the standard for making websites
                                  5   accessible, it is one of, if not the most, valuable resource for companies to operate,
                                  6   maintain, and provide a website that is accessible under the ADA to the public.
                                  7           19.   Within this context, the Ninth Circuit has recognized the viability of
                                  8   ADA claims against commercial website owners/operators with regard to the
                                  9   accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                 10   55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                 11   numerous courts that have already recognized such application.
                                 12           20.   Each of Defendant’s violations of the Americans with Disabilities Act
                                 13   is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
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                                 14   Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 15   Civil Rights Act. Cal. Civ. Code, § 51(f).
                                 16           21.   Further, Defendant’s actions and inactions denied Plaintiff full and
                                 17   equal access to their accommodations, facilities, and services.        A substantial
                                 18   motivating reason for Defendant to deny Plaintiff access was the perception of
                                 19   Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 20   substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 21   to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 22   in causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code,
                                 23   § 51.
                                 24           22.   Inaccessible or otherwise non-compliant websites pose significant
                                 25   access barriers to blind and visually impaired persons.           Common barriers
                                 26   encountered by blind and visually impaired persons include, but are not limited to,
                                 27   the following:
                                 28               a. A text equivalent for every non-text element is not provided;
                                                                              6
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                                  1            b. Title frames with text are not provided for identification and
                                  2               navigation;
                                  3            c. Equivalent text is not provided when using scripts;
                                  4            d. Forms with the same information and functionality as for sighted
                                  5               persons are not provided;
                                  6            e. Information about the meaning and structure of content is not
                                  7               conveyed by more than the visual presentation of content;
                                  8            f. Text cannot be resized without assistive technology up to 200
                                  9               percent without loss of content or functionality;
                                 10            g. If the content enforces a time limit, the user is not able to extend,
                                 11               adjust or disable it;
                                 12            h. Web pages do not have titles that describe the topic or purpose;
                                 13            i. The purpose of each link cannot be determined from the link text
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                                 14               alone or from the link text and its programmatically determined link
                                 15               context;
                                 16            j. One or more keyboard operable user interface lacks a mode of
                                 17               operation where the keyboard focus indicator is discernible;
                                 18            k. The default human language of each web page cannot be
                                 19               programmatically determined;
                                 20            l. When a component receives focus, it may initiate a change in
                                 21               context;
                                 22            m. Changing the setting of a user interface component may
                                 23               automatically cause a change of context where the user has not been
                                 24               advised before using the component;
                                 25            n. Labels or instructions are not provided when content requires user
                                 26               input;
                                 27            o. In content which is implemented by using markup languages,
                                 28            elements do not have complete start and end tags, elements are not
                                                                      7
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                                  1                   nested according to their specifications, elements may contain
                                  2                   duplicate attributes and/or any IDs are not unique;
                                  3                p. Inaccessible Portable Document Format (PDFs); and
                                  4                q. The name and role of all User Interface elements cannot be
                                  5                   programmatically determined; items that can be set by the user
                                  6                   cannot be programmatically set; and/or notification of changes to
                                  7                   these items are not available to user agents, including assistive
                                  8                   technology.
                                  9                             FACTUAL BACKGROUND
                                 10         23.    Defendant offers the https://www.tumi.com/ website to the public.
                                 11   The website offers features which should allow all consumers to access the goods
                                 12   and services which Defendant offers in connection with its physical location. The
                                 13   goods and services offered by Defendant include, but are not limited to, the
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                                 14   following:    an assortment of TUMI’s durable, high-quality, modern pieces
                                 15   including carry-on luggage, wheeled duffels, garment bags, travel backpacks,
                                 16   laptop backpacks, leather backpacks, briefcases, duffels, satchels, crossbodies,
                                 17   slings, waist packs, totes, and more; accessories including wallets, card cases,
                                 18   passport cases and covers, travel essentials, mobile accessories, electronics, key
                                 19   fobs, eyewear, outerwear, and belts, which are available to purchase online and at
                                 20   physical locations. Consumers can further access information regarding access
                                 21   information regarding store locations, best sellers, collections, new arrivals,
                                 22   personalization shop, featured items, sales, philanthropy opportunities, product
                                 23   information and warranty, gift ideas, gift cards, career opportunities, shipping and
                                 24   returns, payment methods, service and repairs, replacement parts, email
                                 25   subscriptions, corporate gifts and incentives, order tracking, airline carry-on guide,
                                 26   setting your TUMI lock, and Defendant’s social media pages.
                                 27         24.    Based on information and belief, it is Defendant’s policy and practice
                                 28   to deny Plaintiff and Class Members, along with other blind or visually impaired
                                                                             8
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                                  1   users, access to Defendant’s website, and to therefore, specifically deny the goods
                                  2   and services that are offered and integrated within Defendant’s stores. Due to
                                  3   Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
                                  4   and other visually impaired persons have been and are still being denied equal and
                                  5   full access to Defendant’s stores, goods, and services offered to the public through
                                  6   Defendant’s Website.
                                  7   DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT. CAL. CIV.
                                  8      CODE, § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                  9         25.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 10   use a computer without the assistance of screen reading software. However,
                                 11   Plaintiff is a proficient user of the JAWS or NV Access screen-reader(s) as well as
                                 12   Mac’s VoiceOver and uses it to access the internet.            Plaintiff has visited
                                 13   https://www.tumi.com/ on several separate occasions using the JAWS and/or
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                                 14   VoiceOver screen-readers.
                                 15         26.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 16   encountered multiple access barriers which denied Plaintiff full and equal access to
                                 17   the facilities, goods, and services offered to the public and made available to the
                                 18   public on Defendant’s website. Due to the widespread access barriers Plaintiff and
                                 19   Class Members encountered on Defendant’s website, Plaintiff and Class Members
                                 20   have been deterred, on a regular basis, from accessing Defendant’s website.
                                 21   Similarly, the access barriers Plaintiff has encountered on Defendant’s website has
                                 22   deterred Plaintiff and Class Members from visiting Defendant’s brick-and-mortar
                                 23   stores.
                                 24         27.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                 25   Members encountered multiple accessibility barriers for blind or visually impaired
                                 26   people that include, but are not limited to, the following:
                                 27                a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 28                is invisible code embedded beneath a graphic or image on a website
                                                                           9
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                                  1                that is read to a user by a screen-reader. For graphics or images to
                                  2                be fully accessible for screen-reader users, it requires that alt-text
                                  3                be coded with each graphic or image so that screen reading software
                                  4                can speak the alt-text to describe the graphic or image where a
                                  5                sighted user would just see the graphic or image. Alt-text does not
                                  6                change the visual presentation, but instead a text box shows when
                                  7                the cursor hovers over the graphic or image. The lack of alt-text on
                                  8                graphics and images prevents screen-readers from accurately
                                  9                vocalizing a description of the image or graphic. As a result,
                                 10                Plaintiff and Class Members who are blind and visually impaired
                                 11                customers are unable to access high-quality, durable TUMI travel
                                 12                pieces and accessories, available to order online or at store
                                 13                locations. Consumers are additionally unable to access information
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                                 14                regarding access information regarding store locations, best sellers,
                                 15                special collections, new arrivals, personalization shop, featured
                                 16                items, philanthropy opportunities, product information and
                                 17                warranty, sale items, gift ideas, gift cards, career opportunities,
                                 18                shipping and returns, payment methods, service and repairs,
                                 19                replacement parts, email subscriptions, corporate gifts and
                                 20                incentives, order tracking, airline carry-on guide, setting your
                                 21                TUMI lock, and Defendant’s social media pages, or complete any
                                 22                purchases;
                                 23             b. Empty Links that contain No Text causing the function or purpose
                                 24                of the link to not be presented to the user. This can introduce
                                 25                confusion for keyboard and screen-reader users;
                                 26             c. Redundant Links where adjacent links go to the same URL address
                                 27                which results in additional navigation and repetition for keyboard
                                 28             and screen-reader users; and
                                                                        10
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                                  1                d. Linked Images missing alt-text, which causes problems if an image
                                  2                   within a link does not contain any descriptive text and that image
                                  3                   does not have alt-text. A screen reader then has no content to
                                  4                   present the user as to the function of the link, including information
                                  5                   or links for and contained in PDFs.
                                  6         28.    Recently in 2022, Plaintiff attempted to do business with Defendant
                                  7   on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                  8   website.
                                  9         29.    Despite past and recent attempts to do business with Defendant on its
                                 10   website, the numerous access barriers contained on the website and encountered by
                                 11   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 12   Plaintiff and Class Members, as a result of the barriers on Defendant’s website,
                                 13   continue to be deterred on a regular basis from accessing Defendant’s website.
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                                 14   Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                 15   been deterred and impeded from the full and equal enjoyment of goods and services
                                 16   offered in Defendant’s stores and from making purchases at the physical locations.
                                 17         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 18         30.    Due to the inaccessibility of the Defendant’s website, blind and
                                 19   visually impaired customers such as Plaintiff, who need a screen-reader, cannot
                                 20   fully and equally use, or enjoy the facilities and services Defendant offers to the
                                 21   public on its website. The access barriers Plaintiff encountered have caused a denial
                                 22   of Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular
                                 23   basis from accessing the website.
                                 24         31.    These access barriers on the Defendant’s website have deterred the
                                 25   Plaintiff from visiting Defendant’s physical locations and enjoying it equal to
                                 26   sighted individuals because Plaintiff was unable to find the location and hours of
                                 27   operation of Defendant’s stores on its website. This continues to prevent Plaintiff
                                 28   from visiting the locations to view and purchase goods and/or services. Plaintiff
                                                                             11
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                                  1   and Class Members intend to visit Defendant’s locations in the near future if
                                  2   Plaintiff and Class Members could access Defendant’s website.
                                  3         32.    If the website were equally accessible to all, Plaintiff and Class
                                  4   Members could independently navigate the website and complete a desired
                                  5   transaction, as sighted individuals do.
                                  6         33.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                  7   knowledge of the access barriers that makes these services inaccessible and
                                  8   independently unusable by blind and visually impaired people.
                                  9         34.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 10   and Class Members who are visually impaired consumers with equal access to the
                                 11   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                 12   intentional discrimination, including, but not limited to, the following policies or
                                 13   practices: constructing and maintaining a website that is inaccessible to visually
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                                 14   impaired individuals, including Plaintiff and Class Members; failing to construct
                                 15   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                 16   visually impaired individuals, including Plaintiff and Class Members; and failing to
                                 17   take actions to correct these access barriers in the face of substantial harm and
                                 18   discrimination to blind and visually impaired consumers, such as Plaintiff and Class
                                 19   Members, as a member of a protected class.
                                 20         35.    The Defendant uses standards, criteria, or methods of administration
                                 21   that have the effect of discriminating or perpetuating the discrimination against
                                 22   others, as alleged herein.
                                 23         36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 24   seeks in this action. In relevant part, the ADA requires:
                                 25                In the case of violations of … this title, injunctive relief shall
                                                   include an order to alter facilities to make such facilities readily
                                 26
                                                   accessible to and usable by individuals with disabilities ….
                                 27                Where appropriate, injunctive relief shall also include requiring
                                                   the … modification of a policy …. 42 U.S.C. § 12188(a)(2).
                                 28
                                                                   12
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                                  1         37.   Because Defendant’s website has never been equally accessible, and
                                  2   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                  3   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                  4   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring Defendant to
                                  5   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                  6   with WCAG 2.1 guidelines for Defendant’s website.           The website must be
                                  7   accessible for individuals with disabilities who use desktop computers, laptops,
                                  8   tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                  9   injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 10   Defendant’s employees and agents who develop the website on accessibility
                                 11   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                 12   the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                 13   blind or vision-impaired persons to ensure that the Defendant’s website complies
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                                 14   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                 15   disclosed on the Defendant’s website, with contact information for users to report
                                 16   accessibility-related problems and require that any third-party vendors who
                                 17   participate on the Defendant’s website to be fully accessible to the disabled by
                                 18   conforming with WCAG 2.1.
                                 19         38.   If Defendant’s website were accessible, Plaintiff and Class Members
                                 20   could independently access information about the address and hours of the stores,
                                 21   goods offered, and services available.
                                 22         39.   Although Defendant may currently have centralized policies regarding
                                 23   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 24   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                 25   and independently usable by, blind and other visually impaired consumers.
                                 26         40.   Defendant has, upon information and belief, invested substantial sums
                                 27   in developing and maintaining Defendant’s website, and Defendant has generated
                                 28   significant revenue from Defendant’s website. These amounts are far greater than
                                                                            13
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                                  1   the associated cost of making Defendant’s website equally accessible to visually
                                  2   impaired customers. Plaintiff has also visited prior iterations of the Defendant’s
                                  3   website, https://www.tumi.com/, and also encountered such barriers.
                                  4         41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                  5   be unable to independently use Defendant’s website, violating their rights.
                                  6                          CLASS ACTION ALLEGATIONS
                                  7         42.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                  8   certify a Nationwide Class under Fed. R. Civ. P. 23(a) and 23(b)(2), the Nationwide
                                  9   Class is initially defined as follows:
                                 10                all legally blind individuals who have attempted to access
                                                   Defendant’s website by the use of a screen reading software
                                 11
                                                   during the applicable limitations period up to and including final
                                 12                judgment in this action.
                                 13         43.    The California Class is initially defined as follows:
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                                 14                all legally blind individuals in the State of California who have
                                                   attempted to access Defendant’s website by the use of a screen
                                 15                reading software during the applicable limitations period up to
                                 16                and including final judgment in this action.
                                 17         44.    Excluded from each of the above Classes is Defendant, including any
                                 18   entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 19   which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 20   representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 21   excluded are the judge and court personnel in this case and any members of their
                                 22   immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 23   discovery and further investigation reveal that the Classes should be expanded or
                                 24   otherwise modified.
                                 25         45.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                 26   and may properly be maintained as a class action against Defendant under Rules
                                 27   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                 28   number and identities of other Class Members are unknown to Plaintiff at this time,
                                                                             14
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                                  1   Plaintiff is informed and believes that there are hundreds of thousands of Members
                                  2   in the Class. Based on the number of customers who have visited Defendant’s
                                  3   California stores, it is estimated that the Class is composed of more than 10,000
                                  4   persons. Furthermore, even if subclasses need to be created for these consumers,
                                  5   it is estimated that each subclass would have thousands of Members. The Members
                                  6   of the Class are so numerous that joinder of all Members is impracticable and the
                                  7   disposition of their claims in a class action rather than in individual actions will
                                  8   benefit the parties and the courts.
                                  9         46.    Typicality: Plaintiff’s and Class Members’ claims are typical of the
                                 10   claims of the Members of the Class as all Members of the Class are similarly
                                 11   affected by Defendant’s wrongful conduct, as detailed herein.
                                 12         47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 13   the Members of the Class in that they have no interests antagonistic to those of the
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                                 14   other Members of the Class. Plaintiff has retained experienced and competent
                                 15   counsel.
                                 16         48.    Superiority: A class action is superior to other available methods for
                                 17   the fair and efficient adjudication of this controversy. Since the damages sustained
                                 18   by individual Class Members may be relatively small, the expense and burden of
                                 19   individual litigation makes it impracticable for the Members of the Class to
                                 20   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 21   adjudication of this controversy through a class action will avoid the potentially
                                 22   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 23   be no difficulty in the management of this action as a class action. If Class treatment
                                 24   of these claims were not available, Defendant would likely unfairly receive
                                 25   thousands of dollars or more in improper revenue.
                                 26         49.    Common Questions Predominate: Common questions of law and fact
                                 27   exist as to all Members of the Class and predominate over any questions solely
                                 28   affecting individual Members of the Class. Among the common questions of law
                                                                            15
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                                  1   and fact applicable to the Class are:
                                  2                    i. Whether Defendant’s website, https://www.tumi.com/, is
                                  3                       inaccessible to the visually impaired who use screen reading
                                  4                       software to access internet websites;
                                  5                   ii. Whether Plaintiff and Class Members have been unable to
                                  6                       access https://www.tumi.com/ through the use of screen reading
                                  7                       software;
                                  8                  iii. Whether the deficiencies in Defendant’s website violate the
                                  9                       Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et
                                 10                       seq.;
                                 11                  iv. Whether the deficiencies in Defendant’s website violate the
                                 12                       California Unruh Civil Rights Act, California Civil Code § 51
                                 13                       et seq.;
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                                 14                   v. Whether, and to what extent, injunctive relief should be imposed
                                 15                       on Defendant to make https://www.tumi.com/ readily accessible
                                 16                       to and usable by visually impaired individuals;
                                 17                  vi. Whether Plaintiff and Class Members are entitled to recover
                                 18                       statutory damages with respect to Defendant’s wrongful
                                 19                       conduct; and
                                 20                  vii. Whether further legal and/or equitable relief should be granted
                                 21                       by the Court in this action.
                                 22         50.    The class is readily definable, and prosecution of this action as a Class
                                 23   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 24   difficulty which will be encountered in the management of this litigation which
                                 25   would preclude their maintenance of this matter as a Class action.
                                 26         51.    The prerequisites to maintaining a class action for injunctive relief or
                                 27   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                 28   to act on grounds generally applicable to the Class, thereby making appropriate final
                                                                                16
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                                  1   injunctive or equitable relief with respect to the Class as a whole.
                                  2         52.    The prerequisites to maintaining a class action for injunctive relief or
                                  3   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                  4   common to the Class predominate over any questions affecting only individual
                                  5   Members; and a class action is superior to other available methods for fairly and
                                  6   efficiently adjudicating the controversy.
                                  7         53.    The prosecution of separate actions by Members of the Class would
                                  8   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                  9   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 10   interests of all Members of the Class, although certain Class Members are not
                                 11   parties to such actions.
                                 12         54.    Defendant’s conduct is generally applicable to the Class as a whole
                                 13   and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
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                                 14   whole. As such, Defendant’s systematic policies and practices make declaratory
                                 15   relief with respect to the Class as a whole appropriate.
                                 16                                        COUNT I
                                 17      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 18                                U.S.C. § 12181 ET SEQ.
                                 19         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 20         55.    Plaintiff alleges and incorporates herein by reference each and every
                                 21   allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                 22   set forth fully herein.
                                 23         56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 24   provides: “No individual shall be discriminated against on the basis of disability in
                                 25   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 26   advantages, or accommodations of any place of public accommodation by any
                                 27   person who owns, leases (or leases to), or operates a place of public
                                 28   accommodation.” 42 U.S.C. § 12182(a).
                                                                          17
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                                  1         57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                  2   discrimination also includes, among other things: “a failure to make reasonable
                                  3   modifications in policies, practices, or procedures, when such modifications are
                                  4   necessary to afford such goods, services, facilities, privileges, advantages, or
                                  5   accommodations to individuals with disabilities, unless the entity can demonstrate
                                  6   that making such modifications would fundamentally alter the nature of such goods,
                                  7   services, facilities, privileges, advantages or accommodations;” and “a failure to
                                  8   take such steps as may be necessary to ensure that no individual with a disability is
                                  9   excluded, denied services, segregated or otherwise treated differently than other
                                 10   individuals because of the absence of auxiliary aids and services, unless the entity
                                 11   can demonstrate that taking such steps would fundamentally alter the nature of the
                                 12   good, service, facility, privilege, advantage, or accommodation being offered or
                                 13   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
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                                 14   accommodation shall take those steps that may be necessary to ensure that no
                                 15   individual with a disability is excluded, denied services, segregated or otherwise
                                 16   treated differently than other individuals because of the absence of auxiliary aids
                                 17   and services, unless the public accommodation can demonstrate that taking those
                                 18   steps would fundamentally alter the nature of the goods, services, facilities,
                                 19   privileges, advantages, or accommodations being offered or would result in an
                                 20   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 21   order to be effective, auxiliary aids and services must be provided in accessible
                                 22   formats, in a timely manner, and in such a way as to protect the privacy and
                                 23   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 24         58.    Defendant’s stores are “public accommodations” within the meaning
                                 25   of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue
                                 26   from the sale of its goods and services, privileges, advantages, and accommodations
                                 27   in California through its locations and related services, privileges, advantages, and
                                 28   accommodations, and its Website, https://www.tumi.com/, is a service, privilege,
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                                  1   advantage, and accommodation provided by Defendant that is inaccessible to
                                  2   customers who are visually impaired like Plaintiff. This inaccessibility denies
                                  3   visually impaired customers full and equal enjoyment of and access to the facilities
                                  4   and services, privileges, advantages, and accommodations that Defendant made
                                  5   available to the non-disabled public. Defendant is violating the Americans with
                                  6   Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant denies visually
                                  7   impaired customers the services, privileges, advantages, and accommodations
                                  8   provided by https://www.tumi.com/. These violations are ongoing.
                                  9         59.    Defendant’s actions constitute intentional discrimination against
                                 10   Plaintiff and Class Members on the basis of a disability in violation of the
                                 11   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
                                 12   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 13   the website in this inaccessible form; and has failed to take adequate actions to
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                                 14   correct these barriers even after being notified of the discrimination that such
                                 15   barriers cause.
                                 16         60.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 17   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 18                                        COUNT II
                                 19     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 20                              CIVIL CODE § 51 ET SEQ.
                                 21                     (On Behalf of Plaintiff and the California Class)
                                 22         61.    Plaintiff alleges and incorporates herein by reference each and every
                                 23   allegation contained in paragraphs 1 through 60, inclusive, of this Complaint as if
                                 24   set forth fully herein.
                                 25         62.    Defendant’s stores are “business establishments” within the meaning
                                 26   of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                 27   revenue from the sale of its goods and services in California through its stores and
                                 28   related services, and https://www.tumi.com/ is a service provided by Defendant that
                                                                              19
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                                  1   is inaccessible to customers who are visually impaired like Plaintiff and Class
                                  2   Members. This inaccessibility denies visually impaired customers full and equal
                                  3   access to Defendant’s facilities and services that Defendant makes available to the
                                  4   non-disabled public. Defendant is violating the Unruh Civil Rights Act, California
                                  5   Civil Code § 51 et seq., in that Defendant is denying visually impaired customers
                                  6   the services provided by https://www.tumi.com/. These violations are ongoing.
                                  7         63.    Defendant’s actions constitute intentional discrimination against
                                  8   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                  9   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 10   website that is inaccessible to Plaintiff and Class Members; maintains the website
                                 11   in this inaccessible form; and has failed to take adequate actions to correct these
                                 12   barriers even after being notified of the discrimination that such barriers cause.
                                 13         64.    Defendant is also violating the Unruh Civil Rights Act, California
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                                 14   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 15   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 16   of the California Civil Code provides that a violation of the right of any individual
                                 17   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 18         65.    The actions of Defendant were and are in violation of the Unruh Civil
                                 19   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                 20   Members are entitled to injunctive relief remedying the discrimination.
                                 21         66.    Plaintiff and Class Members are also entitled to statutory minimum
                                 22   damages pursuant to California Civil Code § 52 for each and every offense.
                                 23         67.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 24   fees and costs.
                                 25         68.    Plaintiff and Class Members are also entitled to a preliminary and
                                 26   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                 27   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                 28   necessary to make https://www.tumi.com/ readily accessible to and usable by
                                                                          20
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                                  1   visually impaired individuals.
                                  2                               PRAYER FOR RELIEF
                                  3         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                  4   respectfully requests that the Court enter judgment in her favor and against
                                  5   Defendant as follows:
                                  6         A.    For an Order certifying the Nationwide Class and California Class as
                                  7               defined herein and appointing Plaintiff and her Counsel to represent
                                  8               the Nationwide Class and the California Class;
                                  9         B.    A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 10               12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 11               enjoining Defendant from violating the Unruh Civil Rights Act and
                                 12               ADA and requiring Defendant to take the steps necessary to make
                                 13               https://www.tumi.com/ readily accessible to and usable by visually
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                                 14               impaired individuals;
                                 15         C.    An award of statutory minimum damages of $4,000 per offense per
                                 16               person pursuant to section 52(a) of the California Civil Code;
                                 17         D.    For attorneys’ fees and expenses pursuant to California Civil Code
                                 18               §§ 52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 19         E.    For pre-judgment interest to the extent permitted by law;
                                 20         F.    For costs of suit; and
                                 21         G.    For such other and further relief as the Court deems just and proper.
                                 22   ///
                                 23   ///
                                 24   ///
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                                 27   ///
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                                                                   21
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                                  1                             DEMAND FOR JURY TRIAL
                                  2         Plaintiff, on behalf of herself and all others similarly situated, hereby
                                  3   demands a jury trial for all claims so triable.
                                  4
                                  5   Dated: April 8, 2022                              Respectfully Submitted,

                                  6
                                  7                                                     /s/ Thiago M. Coelho
                                                                                        Thiago M. Coelho, Esq.
                                  8                                                     Binyamin I. Manoucheri
                                  9                                                     WILSHIRE LAW FIRM
                                                                                        Attorneys for Plaintiff and
                                 10                                                     Proposed Class
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